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                                          December 3, 2018
BY CM/ECF & HAND DELIVERY
The Honorable Maryellen Noreika
United States District Court
844 N. King Street
Wilmington, DE 19801
       Re:     Intuitive Surgical, Inc., et al. v. Auris Health, Inc., C.A. No. 18-1359-MN
Dear Judge Noreika:
         In this patent infringement action, Plaintiffs Intuitive Surgical, Inc., and Intuitive Surgical
Operations, Inc. (“Intuitive”) request limited expedited discovery related to the issues raised in
Defendant Auris Health, Inc.’s (“Auris”) Motion to Transfer Venue to the Northern District of
California pursuant to 28 U.S.C. § 1404(a) (D.I. 14 (“Mot. to Trans.”)), prior to submitting an
opposition brief. In its moving papers, Auris included incomplete declarations suggesting it had
no contacts with Delaware. This discovery dispute arises because Auris has refused to agree to
limited discovery allowing Intuitive to test the incomplete facts in these declarations, apparently
contending the Court should accept its position on faith. Several holes exist in Auris’s submission
that Intuitive’s proposed limited discovery will fill. For example, one of Auris’s declarants asserts
that Auris had not completed a sale of its product in Delaware but did not say whether any sales
activities were in process. Styka Decl. ¶ 3, D.I. 18. Intuitive has good reason to believe such
activities have occurred. As a result, Intuitive seeks limited discovery of documents and testimony
to identify all contacts Auris has with Delaware and its surrounding states to dispel Auris’s
proposed inference that no such contacts exist.
   1. Limited Venue Discovery Will Assist the Court in Resolving Auris’s Transfer
      Motion
       Intuitive is a leader in minimally invasive robotic-assisted surgery and has to date launched
robotic-assisted surgical systems, the da Vinci® Systems, that it sells nationwide, including in
Delaware. Compl. ¶¶ 2, 5, D.I. 1. Auris has developed and recently launched a robotic surgical
system, the Monarch Platform, which competes directly with the da Vinci® Systems, and infringes
many of Intuitive’s patents. Id., ¶¶ 18, 23.
        All parties to this action are Delaware corporations. Id., ¶¶ 11–13; Mem. Supp. Mot. to
Trans. at 1, D.I. 15. Intuitive selected the Delaware District Court for this reason, and several
others that the proposed discovery will confirm. “Unless the balance is strongly in favor of a
transfer, the plaintiff’s choice of forum should prevail.” In re Mobile Telecomms. Techs., LLC,
243 F. Supp. 3d 478, 483 (D. Del. 2017) (Stark, J.) (quoting ADE Corp. v. KLA-Tencor Corp., 138
F. Supp. 2d.565, 567–68 (D. Del. 2001)); Shutte v. Armco Steel Corp., 431 F.2d 22, 25 (3d Cir.
1970). “The deference afforded a plaintiff’s choice of forum will ordinarily apply as long as a
plaintiff has selected the forum for some legitimate reason.” In re Mobile Telecomms. Techs.,
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LLC, 243 F. Supp. 3d at 483 (citing Medtronic, Inc. v. Boston Sci. Corp., 587 F. Supp. 2d 648, 654
(D. Del. 2008)). Courts in this District have generally denied transfer motions “so long as at least
two evidentiary bases are established: defendant is a Delaware corporation or limited liability
company (i.e., it has accepted the benefits of organizing under the laws of the State of Delaware),
and it does business on a national scale, including in Delaware.” Godo Kaisha IP Bridge 1 v.
Omnivision Techs., Inc., 246 F. Supp. 3d 1001, 1004 (D. Del. 2017). Auris’s Motion to Transfer
at 4, ignores the Delaware corporation situs, and instead seeks to focus the Court on its lack of
other contacts with Delaware, relying on factual assertions that should be tested by the proposed
discovery. To the extent this Court is inclined to consider Auris’s incomplete factual assertions,
Intuitive respectfully seeks leave to take discovery to present an accurate view of Auris’s Delaware
and surrounding contacts.
         The Third Circuit has approved allowing the parties an opportunity to complete limited
discovery prior to deciding a transfer motion. See, e.g., McDonnell Douglas Corp. v. Polin, 429
F.2d 30, 31 (3d Cir. 1970). See also Devicor Med. Prods., Inc. v. Biopsy Scis., LLC, C.A. No. 10-
0106-GMS, 2013 WL 486638, at *6 (D. Del. Feb. 7, 2013) (ordering defendant’s motion to dismiss
or transfer in abeyance and granting plaintiff’s request for discovery). Limited discovery is
appropriate here to test the accuracy and completeness of the assertions made in the declarations
submitted by Auris, including the location of (1) Auris’s planned and actual sales activities, (2)
the testing of the accused Monarch Platform by physicians and other medical health professionals,
and (3) Auris’s partners and potential partners for the accused Monarch Platform.
        Auris’s declarants tiptoe around Auris’s direct contacts with Delaware and its surrounding
states. While Auris claims that it has made no sales of the Monarch Platform in Delaware to date,
it was only recently launched. In support of its transfer motion, Auris submitted a brief declaration
from David Styka, its Chief Financial Officer. Styka Decl., D.I. 18. Mr. Styka states that Auris
currently “has received purchase orders for nine Monarch Platforms,” and “shipped three of those
systems.” See id. ¶ 3. While Mr. Styka asserts that Auris has not sold any Monarch Platforms in
Delaware, id., he says nothing about whether Auris has tried to make such sales or whether such
sales are pending, whether Auris has already offered the Monarch Platform for sale in Delaware,
whether it is in discussions with entities in Delaware about potential sales, or whether any of
Auris’s customers are within 100 miles of the Court. Based on its search of public records to date,
Intuitive believes at least one of three Monarch Platforms that Auris has “shipped” is now in use
at Fox Chase Cancer Center in Philadelphia, Pennsylvania, within 100 miles of this Court. Ex. 1.
Another appears to be located at UPMC Hamot, in Erie, Pennsylvania. Ex. 2. Discovery should
be allowed to ferret out these details that Auris’s declarants fail to provide. Intuitive believes Auris
has substantial contacts with Delaware and its surrounding areas that it avoids disclosing in its
motion.
        For example, while Auris’s declarants assert that Auris has not succeeded in hiring staff in
Delaware, they don’t say that Auris is not actively recruiting personnel in or near Delaware. Such
activity would constitute relevant significant contacts, about which Intuitive should be allowed to
take discovery. According to Kathryn Shen, Auris’s Vice President of People & Culture, “[t]o the
best of [her] knowledge, none of Auris’s employees or consultants is located in the state of
Delaware or within 100 miles of the United States District Court for the District of Delaware.”
Shen Decl. ¶ 4, D.I. 17. However, Ms. Shen provides no information about Auris’s ongoing efforts
to expand its work force. See id. Indeed, Ms. Shen failed to disclose that Auris is apparently trying
to hire a Field Service Engineer for several cities on the East Coast, including in Philadelphia,

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which is within 100 miles of this Court. Ex. 3. Intuitive should be able to test Ms. Shen’s
testimony to determine what other positions are or will be available within the vicinity of this
Court as well.
        Auris’s motion and supporting declarations are similarly silent as to the location of the
various medical centers to which Auris has provided the Monarch System for testing purposes.
Based on public information, Intuitive believes that several of these medical centers are
significantly closer to Delaware than to California, and some may fall within the subpoena power
of the Court. For example, the Monarch Platform appears to be in use (or will soon be in use) at
the Cleveland Clinic in Cleveland Ohio, Innova Fairfax Hospital in Falls Church, Virginia, and
Medical University of South Carolina in Charleston, South Carolina. Ex. 4. Intuitive should be
able to test whether there are other such locations.
    Further, Auris provides scant information about whether it has development and sales partners
for the accused Monarch Platform in or near Delaware. For example, Ms. Shen states that “certain
robotic arms that were developed in coordination with a company located in Canada,” but does
not identify the company or provide its location, and thus it is unclear whether California or
Delaware would be a more convenient forum for those witnesses. See Shen Decl. ¶ 5. And Ms.
Shen does not disclose in her declaration that Auris has signed a cooperative development and
commercialization deal with Wisconsin-based NeuWave Medical. Ex. 5. The limited venue
discovery requested will uncover the identity and location of all of Auris’s development and sales
partners, not just the ones that Ms. Shen chose to identify in her declaration.
      2. The Discovery Requested Is Narrowly Tailored and Will Not Cause Substantial
         Delay
        Intuitive has proposed narrow, focused document requests and deposition topics
specifically limited to the venue issues raised in Auris’s transfer motion.1 See Attachments A &
B. In addition to a Rule 30(b)(6) deposition, Intuitive requests 2-hour depositions of Auris’s two
declarants, Mr. Styka and Ms. Shen, regarding their declarations.
       Intuitive can proceed on any reasonable discovery schedule preferred by Auris and the
Court. Intuitive proposes the following schedule:
    Event                                            Date
    Intuitive serves venue discovery requests,       Friday, December 7, 2018
    Attachments A & B
    Auris serves written objections/responses        Monday, December 17, 2018
    Auris completes document production              Friday, December 21, 2018
    Depositions completed                            Friday, January 4, 2019
    Intuitive files opposition brief                 Friday, January 11, 2019




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  Intuitive asked Auris to agree to its limited venue discovery requests by email on November 1–
2, 2018. See Ex. 6. The parties met and conferred by telephone on November 5, 2018. Id. During
that call, Auris rejected Intuitive’s request for expedited venue discovery.

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                                                   Respectfully submitted,

                                                   /s/ Karen E. Keller

                                                   Karen E. Keller (No. 4489)

cc:   Clerk of the Court (via hand delivery)
      All Counsel of Record (via CM/ECF)




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